                   IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :
                                         :
              v.                         :       1:18CR337-1
                                         :
DESHAWN TYREAK DIXON                     :


                     FACTUAL BASIS FOR A GUILTY PLEA

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and states that the factual basis for a guilty plea is as follows:

      Just after midnight on February 16, 2017, High Point Police Department

(HPPD) Officer D.S. Lamonds pulled over a 2017 Ford Escape with

Pennsylvania plates. As Officer Lamonds approached the car, he could smell

the strong odor of marihuana coming from inside the car.             Before Officer

Lamonds could reach the driver’s side window, the car sped off. Given HPPD’s

department-wide chase policy, Officer Lamonds did not follow the car.

      A few minutes later, a 911 caller told police dispatch that he had just

witnessed a collision at the intersection of Guyer and Lassiter Streets. The

911 caller stayed at the scene to meet the police. The caller told responding

officers that a dark colored SUV ran through the intersection and hit a




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telephone pole, almost hitting his car in the process. After the wreck, the

driver of the SUV drove it toward a church, Hallelujah Baptist Church,

situated across the intersection. The witness relayed that a young black man

with green pants got out of the car holding a black handgun and discarded it

somewhere on the church property. Officers Lamonds and Cotter responded

to the scene a short time later, as did an HPPD K-9 Officer. The police K-9

conducted an article search and alerted to a Glock, model 27, .40 caliber

handgun near a tree trunk on the northeast side of the church property. The

Glock was immediately confirmed to be one of the firearms stolen during the

February 11, 2017, robbery of a Federal Firearms Licensee (FFL) located in

High Point.

     In the early afternoon of the next day, HPPD Detective Ward found the

Ford Escape with Pennsylvania plates with front end damage abandoned near

2066 Deep River Road in High Point. A Department of Motor Vehicle check

revealed that the Ford Escape was an Enterprise rental car. After seizing the

car, searching it, and collecting fingerprint (and other) evidence, HPPD

detectives learned that Enterprise leased the Ford Escape to J.J. In a non-

custodial interview, J.J. told HPPD detectives that he gave the car to Dixon

and his associate, Javaun Haynes, as payment for a drug debt J.J. owed Dixon.




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      Forensic analysis of certain fingerprints in the car completed by HPPD

Fingerprint Examiner Shannon Smith established that Dixon left a fingerprint

of his left middle finger on the pillar of the driver’s side door of the Ford Escape.

HPPD Crime Scene Techs also swabbed the Glock for traces of biological

evidence. A March 20, 2018, report from the ATF Forensic Science Laboratory

confirmed a CODIS hit – a 14-locus match between Dixon’s recorded DNA

profile and the DNA sample taken from the stolen Glock .40 caliber handgun.

Dixon and Haynes were arrested together in Charleston, South Carolina on

February 17, 2017.

      Agents with the Bureau of Alcohol, Tobacco, Firearms and Explosives

visited Dixon at Avery Correctional Institution on April 26, 2018. Dixon was

serving a custodial sentence for unrelated drug and firearm convictions he

sustained in Guilford County earlier in 2017. The ATF agents confronted

Dixon with the ATF laboratory analysis.          Dixon provided a post-Miranda

statement in which he admitted to purchasing the Glock .40 caliber pistol from

someone named “K.” Dixon also advised that he was aware from discovery

provided in a state criminal matter that the Glock .40 was among those stolen

in the robbery at the FFL.

      As of February 16, 2017, Dixon had previously been convicted of

Trafficking Heroin (2011) in Guilford County Superior Court. He received a



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70-84 month sentence. Nexus examination of the stolen Glock, model 27, .40

caliber pistol revealed that it was manufactured in Georgia. Therefore, the

Glock traveled in interstate commerce before Dixon possessed it.

     This, the 30th day of October, 2018.

                                      MATTHEW G.T. MARTIN
                                      United States Attorney



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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 30, 2018, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following: Tiffany T. McGregor, Esq., and that

a copy of the same was emailed to the U. S. Probation Office at

Probationecf@ncmp.uscourts.gov.



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